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     Plaintiff FIREEYE, INC.
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     [SEE SIGNATURE PAGE FOR COMPLETE
13   LIST OF COUNSEL]

14                                UNITED STATES DISTRICT COURT

15                               NORTHERN DISTRICT OF CALIFORNIA

16                                    SAN FRANCISCO DIVISION

17

18   FORTINET, INC.,                                     Case No. 3:13-cv-02496-HSG

19                  Plaintiff,                           JOINT STIPULATION AND [PROPOSED]
                                                         ORDER FOR DISMISSAL OF STATE
20          v.                                           LAW CLAIMS WITH PREJUDICE AND
                                                         OF PATENT CLAIMS WITHOUT
21   FIREEYE, INC.,                                      PREJUDICE

22                  Defendant.                           Judge:        Hon. Haywood S. Gilliam, Jr.
                                                         Courtroom: 15, 18th Floor
23                                                       Action Filed: June 5, 2013
     FIREEYE, INC.,
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                    Counterclaim Plaintiff,
25
            v.
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     FORTINET, INC.,
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                    Counterclaim Defendant.
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     JOINT STIPULATION AND [PROPOSED] ORDER FOR DISMISSAL OF STATE LAW CLAIMS WITH PREJUDICE
     AND OF PATENT CLAIMS WITHOUT PREJUDICE
     CASE NO. 3:13-CV-02496-HSG
       Case 4:13-cv-02496-HSG Document 222 Filed 09/22/15 Page 2 of 7



 1          WHEREAS, on September 21, 2015, Plaintiff and Counterclaim Defendant Fortinet, Inc.

 2   (“Fortinet”), and Defendant and Counterclaim Plaintiff FireEye, Inc. (“FireEye”) entered into a

 3   settlement agreement (“Settlement Agreement”) addressing all issues and controversies in the

 4   above-entitled action, pursuant to FED. R. CIV. P. 41(a);

 5          THEREFORE, IT IS STIPULATED AND AGREED between the parties, through their

 6   respective counsel of record herein, that:

 7          1) Fortinet’s state law claims (Counts VII-VIII of Fortinet’s Second Amended Complaint,

 8              D.I. 71) shall be dismissed with prejudice;

 9          2) Fortinet’s patent infringement claims (Counts I-VI of Fortinet’s Second Amended

10              Complaint, D.I. 71), and FireEye’s corresponding counterclaims for declaratory relief

11              of non-infringement, invalidity and unenforceability (Counts IV-V of D.I. 85) shall be

12              dismissed without prejudice;

13          3) FireEye’s patent infringement counterclaims (Counts I-III of D.I. 85), and Fortinet’s

14              corresponding counterclaims for declaratory judgment of non-infringement and

15              invalidity (First through Sixth Counterclaims of D.I. 88) shall be dismissed without

16              prejudice;

17          4) The parties shall each bear their own costs, expenses, and attorneys’ fees;

18          5) All signatories listed, and on whose behalf the filing is submitted, concur in the filing’s

19              content and have authorized the filing.

20   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

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     JOINT STIPULATION AND [PROPOSED] ORDER FOR DISMISSAL OF STATE LAW CLAIMS WITH PREJUDICE             1
     AND OF PATENT CLAIMS WITHOUT PREJUDICE
     CASE NO. 3:13-CV-02496-HSG
       Case 4:13-cv-02496-HSG Document 222 Filed 09/22/15 Page 3 of 7



 1   Dated: September 21, 2015                          Respectfully submitted,

 2
                                                        By: /s/ Shane Brun
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                                                        Plaintiff FIREEYE, INC.
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     JOINT STIPULATION AND [PROPOSED] ORDER FOR DISMISSAL OF STATE LAW CLAIMS WITH PREJUDICE       2
     AND OF PATENT CLAIMS WITHOUT PREJUDICE
     CASE NO. 3:13-CV-02496-HSG
       Case 4:13-cv-02496-HSG Document 222 Filed 09/22/15 Page 4 of 7



 1   Dated: September 21, 2015                          By: /s/ John M. Neukom
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 9                                                      Attorneys for Plaintiff and Counterclaim
                                                        Defendant FORTINET, INC.
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     JOINT STIPULATION AND [PROPOSED] ORDER FOR DISMISSAL OF STATE LAW CLAIMS WITH PREJUDICE       3
     AND OF PATENT CLAIMS WITHOUT PREJUDICE
     CASE NO. 3:13-CV-02496-HSG
       Case 4:13-cv-02496-HSG Document 222 Filed 09/22/15 Page 5 of 7



 1   PURSUANT TO STIPULATION, IT IS ORDERED that Plaintiff Fortinet, Inc.’s state law

 2   claims are dismissed with prejudice, and that the parties’ respective patent infringement claims

 3   and corresponding counterclaims for invalidity, unenforceability and non-infringement are

 4   dismissed without prejudice.

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 6   Dated: _______________,
            September 22 2015
                                                         The Honorable Haywood S. Gilliam, Jr.
 7                                                         United States District Court Judge
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     [PROPOSED] ORDER GRANTING JOINT STIPULATION FOR DISMISSAL OF STATE LAW CLAIMS WITH PREJUDICE       1
     AND OF PATENT CLAIMS WITHOUT PREJUDICE
     CASE NO. 3:13-CV-02496-HSG
        Case 4:13-cv-02496-HSG Document 222 Filed 09/22/15 Page 6 of 7



 1                                     LOCAL RULE 5-1(i)(3) ATTESTATION

 2                   I, Shane Brun, am the ECF user whose ID and Password are being used to file this

 3   JOINT STIPULATION AND [PROPOSED] ORDER FOR DISMISSAL OF STATE LAW

 4   CLAIMS WITH PREJUDICE AND OF PATENT CLAIMS WITHOUT PREJUDICE . In

 5   compliance with Civil Local Rule 5-1(i)(3), I hereby attest that John M. Neukom counsel for

 6   Plaintiff, Fortinet, Inc., has concurred in its filing.

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 8   Dated: September 21, 2015                                            /s/ Shane Brun
                                                                           Shane Brun
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     JOINT STIPULATION AND [PROPOSED] ORDER FOR DISMISSAL OF STATE LAW CLAIMS WITH PREJUDICE AND OF
     PATENT CLAIMS WITHOUT PREJUDICE
      CASE NO. 3:13-CV-02496-HSG
       Case 4:13-cv-02496-HSG Document 222 Filed 09/22/15 Page 7 of 7



 1                                     CERTIFICATE OF SERVICE

 2          The undersigned hereby certifies that a true and correct copy of the above and foregoing

 3   document has been served on September 21, 2015, to all counsel of record who are deemed to

 4   have consented to electronic service via the Court’s CM/ECF system. Any counsel of record who

 5   have not consented to electronic service through the Court’s CM/ECF system will be served by

 6   electronic mail, first class mail, facsimile and/or overnight delivery.

 7
                                                                   /s/ Shane Brun
 8                                                                 Shane Brun
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     CERTIFICATE OF SERVICE
     CASE NO. 3:13-CV-02496-HSG
